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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                    Miami Division


IN RE:                                                 CASE NO. 18-14506-BKC-LMI
                                                       Chapter 11 (Lead Case)
Miami Beverly, LLC,

                                                       Jointly Administered
1336 NW 60, LLC                                        Case No. 18-14509-BKC-LMI
Reverend, LLC                                          Case No. 18-14510-BKC-LMI
13300 Alexandria Dr. Holdings, LLC                     Case No. 18-14511-BKC-LMI
The Holdings at City, LLC                              Case No. 18-14512-BKC-LMI

         Debtor.
                                              /

                          NOTICE OF FILING RECEIVER’S BOND

         Linda Leali, the Court-Appointed Custodian, by and through undersigned counsel, hereby

gives notice of filing the attached Receiver’s Bond.

         Respectfully submitted this 13th day of July, 2018.

                                              Messana, P.A.
                                              Counsel for Linda Leali, Custodian
                                              401 East Las Olas Boulevard, Suite 1400
                                              Fort Lauderdale, Florida 33301
                                              Telephone: (954) 712-7400
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                                              /s/ Thomas M. Messana
                                              Thomas M. Messana
                                              Florida Bar No. 0991422
                                              Chris Broussard
                                              Florida Bar No. 0095894
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